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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                       September 22, 2017
UNITED STATES DISTRICT COURT             SOUTHERN DISTRICT   OF TEXAS
                                                        David J. Bradley, Clerk
                        BROWNSVILLE DIVISION



Guadalupe Navarro                                  §
                                                   §
versus                                             §            Civil Action 1:17−cv−00201
                                                   §
Valley Grande Manor, Inc.,, et al.                 §

                                     Order Setting Conference

1.   Counsel shall appear for an initial pretrial conference:

                                    December 5, 2017, at 01:30 PM
                                  Before the Honorable Rolando Olvera
                                      United States District Judge
                                     Third Floor−Courtroom No. 4
                                        United States Courthouse
                                          600 E. Harrison Street
                                         Brownsville, TX 78520

2.   Within 15 days of receiving this order, counsel must file a list of all entities that are
     financially interested in this litigation, including parent, subsidiary, and affiliated corporations
     as well as all known attorneys of record. When a group description is effective disclosure, an
     individual listing is not necessary. Underline the names of corporations with publicly traded
     securities. Counsel must promptly amend the list when parties are added or additional
     interested parties are identified.

3.   The plaintiff must serve the defendant within 90 days of filing the complaint. The plaintiff's
     failure to file proof of service within that time may result in dismissal by the court on its own
     initiative. See Fed. R. Civ. P. Rule 4(m).

4.   At least 14 days before the initial pretrial conference, counsel must file a joint case
     management plan listing the identities and purposes of witnesses, sources and types of
     documents, and other requirements for a prompt and inexpensive preparation of this case for
     disposition by motion or trial. See Fed R. Civ. P. Rule 26(f).

5.   At least 5 days before the initial pretrial conference, counsel must file a joint proposed
     scheduling order using the Court's template.

6.   The parties shall agree on additional deadlines for completion of pretrial matters including all
     expert designation dates and discovery deadlines, as well as dates for exchanging of initial
     disclosures if they have not already been completed.
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7.   By the initial pretrial conference, counsel will have interviewed their clients and read all
     relevant documents; readily available documents will have been exchanged at the meeting to
     create and sign the required Case Management Plan at the latest.

8.   The court will set a schedule for initial preparation and may rule on motions pending or made
     at the conference.

9.   Counsel in charge of a case must appear at all hearings or conferences. A motion to appear on
     behalf of the attorney−in−charge will be granted only upon showing of good cause, and only
     if the attorney to be substituted is familiar with the case and has authority to bind the client.
     The motion to appear must be ruled on in advance of the hearing or conference date.

10. Counsel who appear at the conference must have authority to bind the client and must know
    the facts.

11. Counsel must have discussed alternative dispute resolution with their clients and each other; at
    the conference, the court will consider whether a method of ADR is suited to this case.

12. The court will enter a scheduling order and may rule on any pending motions at the
    conference.

13. The Plaintiff(s), or the party removing this suit from state court, SHALL SERVE THE
    OPPOSING PARTY OR PARTIES with copies of:

     A. This ORDER FOR CONFERENCE,
     B. The form for the JOINT DISCOVERY/CASE MANAGEMENT PLAN AS REQUIRED
        BY RULE 26(f).
     C. The form for the PROPOSED JOINT SCHEDULING ORDER.

14. These papers SHALL BE SERVED CONTEMPORANEOUSLY WITH THE
    SUMMONS AND COMPLAINT.

15. The parties will be bound by the provisions contained in this ORDER, the papers mentioned
    in No. 4 above, and the dates set out in the scheduling order to be entered in this case.

16. Failure to comply with this order may result in sanctions, including dismissal of the action and
    assessment of expenses.



                                                                BY THE ORDER OF THE COURT
